                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                 3:01cr31

SHONE EDWARD WILKES,                                )
                                                    )
                      Petitioner,                   )
                                                    )
Vs.                                                 )              ORDER
                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )
                 Respondent.                        )
_______________________________                     )

       THIS MATTER is before the court on petitioner’s pro se “Motion Requesting For

The Court to Take Judicial Notice” (#553). In that motion, petitioner recounts a number of

the post-judgment pleadings he has filed with the court and appears to ask the court to

consider his efforts at rehabilitation while incarcerated when it considers his motion for relief

under Amendment 750 to the Sentencing Guidelines. Petitioner filed the instant motion on

June 29, 2012; however, the court filed its Order denying relief under Amendment 750 on

June 26, 2012.

       While petitioner is encouraged to continue with his education and to avail himself of

programs and work assignments offered by the Bureau of Prisons, there simply is no relief

that can be granted to him under Amendment 750. The reason is straightforward: due to the

petitioner's classification as a Career Offender, there is no change in the guideline

calculations and Amendment 750 is not applicable to his case. Additionally, due to the

statutory mandatory minimum sentence required in petitioner’s case – which was life

imprisonment – there can be no change in the guideline calculations.

       Finally, petitioner is advised that the court was well aware of and reviewed the

extensive educational programs and work assignments he has successfully completed ( as


                                              -1-



      Case 3:01-cr-00031-MOC          Document 554        Filed 06/29/12     Page 1 of 2
outlined in the Revised Presentence Report) before it entered its Order denying relief under

Amendment 750.



                                         ORDER

       IT IS, THEREFORE, IT IS HEREBY ORDERED that Petitioner’s pro se “Motion

Requesting For The Court to Take Judicial Notice” (#553) is DENIED.




                                             Signed: June 29, 2012




                                           -2-



      Case 3:01-cr-00031-MOC        Document 554       Filed 06/29/12    Page 2 of 2
